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IN THE UNITED STATES COURT FOR THE
EASTERN DISTRICT OF PENNSYLVANIA

ANTHONY REID,et. al.,

PLAINTIFFS HON. GERALD McHUGH
V *.
JOHN WETZEL, et. al., CIVIL ACTION
DEFENDANTS NO, 21-CV-5108

MOTION TO AMEND LIST OF PLAINTIFFS

PLAINTIFFS IN THE ABOVE CAPTIONED SEEK TO AMEND THE LIST OF PLAINTIFFS
TO INCLUDE ALFONZO SANCHEZ, WHO IS SIMILARLY SITUATED, NUNC PRO. TUNC
BY LEAVE OF THIS HONORABLE COURT, IN ACCORDANCE WITH Fed. R. Civ.
P, 15(B). PLAINTIFFS ARE PERMITTED TO AMEND, ESPECIALLY SINCE THIS
CASE IS PRE-TRIAL AND THE DEFENDANTS HAVE YET TO RESPOND TO THE INITIAL
COMPLAINT. AS WELL AS. THE FACT THAT THESE PROCEEDINGS HAVE BEEN PLACED
ON HOLD PENDING REVIEW BY THE COURT IN BUSANET V. WETZEL, CIVIL ACTION
NO.21-4286.

STANDARD OF REVIEW

"THE U.S. SUPREME COURT...PERMITS THE DENIAL OF A MOTION TO AMEND
ONLY UPON FINDING OF UNDUE DELAY, BAD FAITH OR DILATORY MOTIVE ON
THE PART OF THE MOVANT, REPEATED FAILURE TO CURE DEFICIENCIES BY
AMENDMENTS PREVIOUSLY ALLOWED, UNDUE PREJUDICE TO THE OPPOSING PARTY
OR THE FUTILITY OF THE AMENDMENT." A-1 ADVANCED MOVING AND STORAGE,
IN V NORVERGENCE INC. (IN re NORVERGENCE INC.) 428 B.R. 663 (3d Cir

2010).

PURSUANT TO FOMAN V. DAVIS 371 U.S. 178, 182, A MOTION TO AMEND IN
ORDER TO ADD NEW PLAINTIFFS MUST FREELY BE GRANTED. DEFENDANTS, AS
PARTIES OPPOSING THE MOTION TO AMEND, CARRY THE BURDEN TO SHOW
PREJUDICE IF PLAINTIFFS ARE SUCCESSFUL IN OBTAINING THE REQUESTED

RELIEF.

ARGUMENT

PLAINTIFFS IN THIS CIVIL ACTION RESPECTFULLY PRESENT TO THIS HONORABLE
COURT THAT MR. SANCHEZ WAS UNABLE TO FILE IN JOINDER WITH THE REST
OF PLAINTIFFS DUE TO NO FAULT OF HIS OWN. THE Pa.D.O.C. REMOVED MR.
SANCHEZ FROM THE CAPITAL CASE UNIT (CCU) AND HOUSED HIM IN THE
RESTRICTED HOUSING UNIT (RHU). MR. SANCHEZ WAS RESTRICTED FROM CONTACT
WITH VIRTUALLY EVERYONE. HE HAD NO CONTACT WITH THE ATTORNEYS
REPRESENTING HIM IN HIS CAPITAL CASE LITIGATION. NOR DID HE HAVE
CONTACT WITH HIS FELLOW CAPITAL CASE PRISONERS. MR. SANCHEZ HAD NO
WAY OF KNOWING, THROUGH NO FAULT OF HIS OWN, THAT THIS §1983 CIVIL
RIGHTS ACTION WAS BEING FILED. ONLY RECENTLY HAS MR. SANCHEZ BEEN
RELEASED FROM THE RESTRICTED HOUSING UNIT.

AS SOON AS MR. SANCHEZ WAS RELEASED FROM THE RESTRICTED HOUSING UNIT
(RHU) AND BROUGHT UP TO DATE ON THIS §1983 CIVIL RIGHT ACTION, HE
INFORMED PLAINTIFF RICHARD LAIRD TO INITIATE THIS AMENDMENT, THUS
ELIMINATING ANY INORDINANTE DELAY. PLAINTIFFS HAVE SOUGHT THIS

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AMENDMENT OF THE LIST OF PLAINTIFFS IN GOOD FAITH WITH JUDICIAL ECONOMY

IN MIND, AND. NOT FROM DILATORY MOTIVE.

DEFENDANTS WILL NOT BE PREJUDICED AS THE NAMED DEFENDANTS, FACTS.
PLACES AND ACTIONS ARE THE SAME FOR MR. SANCHEZ AS THE REST OF THE
PLAINTIFFS IN THIS CIVIL ACTION. DEFENDANTS WILL ESPECIALLY NOT BE
PREJUDICED AS THEY HAVE YET TO RESPOND TO THE INITIAL COMPLAINT,
THEREFORE AMENDED COMPLAINT WILL NOT BE NECESSARY.

HISTORY OF ALFONZO SANCHEZ

WITH THE ABOVE IN MIND PLAINTIFFS PRESENT MR. ALFONZO SANCHES TO THIS
HONORABLE COURT:

PLAINTIFF ALFONZO SANCHEZ #0QN8700 IS A 41 YEAR OLD RESIDENT OF SCI-
PHOENIX. MR. SANCHEZ WAS SENTENCED TO DEATH IN BUCKS COUNTY,
PENNSYLVANIA. IN NOVEMBER OF 2008 HE WAS TRANSFERRED TO SCI-GRATERFORT
WHERE HE WAS PLACED IN SOLITARY CONFINEMENT. IN DECEMBER OF 2008 MR.
SANCHEZ WAS TRANSFERRED TO SCI-CAMPHILL, WHERE HE WAS AGAIN PLACED
IN SOLITARY CONFINEMENT. IN FEBRUARY OF 2009 MR. SANCHEZ WAS
TRANSFERRED TO SCI-GREENE, HOUSED ON THE CAPITAL CASE UNIT (CCU) IN
SOLITARY CONFINEMENT. ‘

MR. SANCHEZ HAS A EXTENSIVE HISTORY OF ACTIVITIES IN WHICH HE HAS
SUFFERED SEVERE HEAD TRAUMA. AUTOMOBILE ACCIDENT, ATV ACCIDENT. BOXING.
MMA FIGHTING. HE FELL OFF OF A ROOF. (JUST TO LIST A FEW). AS A RESULT
OF SAID HEAD TRAUMA, MR. SANCHEZ WAS DIAGNOSED WITH CONCUSSION(S).
SAID CONCUSSION(S) HAVE A DEBILITATING EFFECT ON MR. SANCHEZ. HE
SUFFERS MOOD SWINGS. A SENSITIVITY TO LIGHT, SOUND,ETC. MR. SANCHEZ
HAS BEEN PREVIOUSLY DIAGNOSED AND TREATED FOR ADHD, PTSD, SEVERE
ANXIETY. PERSONALITY DISORDER. (MEDICATION HAS BEEN PRESCRIBED). MR.
SANCHEZS DIAGNOSES AND TREATMENT BEGAN AT THE AGE OF 3 YEARS OF AGE.

AFTER SUFFERING THE CONDITIONS OF SOLITARY CONFINEMENT PLAINTIFF
SANCHEZ FOUND HIMSELF EXPERIENCING DEPRESSION. ANXIETY... INSOMNIA.
NIGHTMARES. HE SUFFERS FROM BACK PAIN. NECK PAIN. HIS KNEES AND ANKLES
ARE GIVING HIM PAIN.

EVEN THOUGH PLAINTIFF SANCHEZ HAS BEEN RELEASED FROM SOLITARY
CONFINEMENT, HE IS STILL EXPERIENCES THE HARSH AND DEBILITATING EFFECTS
OF THE CRUEL AND UNNECESSARY TREATMENT AT THE HANDS OF THE Pa.D.O.C.

CONCLUSION

FOR THE FOREGOING REASONS, ALL PLAINTIFFS IN THE ABOVE CAPTIONED CIVIL
ACTION RESPECTFULLY REQUEST THAT MR. ALFONZO SANCHEZ BE ADDED TO THE
LIST OF PLAINTIFFS.

I, ALFONZO SANCHEZ, HAVE READ AND UNDERSTAND THE COMPLAINT (REID V.
WETZEL. CV NO. 21-CV-5108) AND FULLY AGREE WITH ALL ASPECTS OF THE

COMPLAINT.

s Zr bs fe Bf P25
FONZO SAN Z #QN8700 DATE
SCI-PHOENI

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Gok x E-17-23
“RICHARD. LAIRD #AT0811 DATE
- SCI-PHOENIX

CERTIFICATE OF SERVICE

PLAINTIFFS HEREBY CERTIFY THAT A TRUE AND CORRECT COPY OF THE FOREGOING
HAS BEEN SERVED UPON THE FOLLOWING BY FIRST CLASS MAIL:

OFFICE OF THE CLERK
UNITED STATES DISTRICT. COURT
PHILADELPHIA PA 19106-9865

JOSEPH G, FULGINITY,ESQ.

Pa. DEPARTMENT OF CORRECTIONS
“1920. TECHNOLOGY . PARKWAY
MECHANICSBURG PA 17050

Bk $-1T-23
RICHARD LAIRD #AT0811 DATE
SCI-PHOENIX
1200 MOKYCHIC DRIVE
COLLEGEVILLE PA 19426

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OFFICE OF THE CLERK
UNITED STATES DISTRICT COURT
PHILADELPHIA PA 19106-9865

RE: RIED,et.al. V. WETZEL,et.al.
CIVIL ACTION NO. 21-CV-5108

DEAR CLERK OF COURTS,

ENCLOSED PLEASE FIND A MOTION TO. AMEND LIST OF PLAINTIFFS WITH
ACCOMPANYING PETITION TO PROCEED IN FORMA PAUPERIS THAT IS BEING FILED

IN THE ABOVE CAPTIONED §1983 CIVIL ACTION.

‘THANK YOU FOR YOUR ATTENTION IN THIS MATTER.

Gok ce! 8 -17-L3
RICHARD LAIRD. #AT0811 DATE

SCI-PHOENIX
1200 MOKYCHIC. DRIVE

COLLEGEVILLE PA 19106

CC: FILE

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COLLEGEVILLE PA 19426
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